Case 08-14631-GMB   Doc 211-4 Filed 04/25/08 Entered 04/25/08 12:29:02   Desc
                      Certificate of Service Page 1 of 6
Case 08-14631-GMB          Doc 211-4 Filed 04/25/08 Entered 04/25/08 12:29:02         Desc
                             Certificate of Service Page 2 of 6



                            SHAPES/ARCH HOLDINGS L.L.C.
                   CASE NO. 08-14631 (GMB) (JOINTLY ADMINISTERED)
                                 MASTER SERVICE LIST



Jerrold N. Poslusny, Jr., Esq.                 Richard A. Kellner
Cozen O’Connor                                 Rusal America Corp.
LibertyView, Suite 300                         550 Mamaroneck Ave.
457 Haddonfield Road                           Harrison, NY 10528
Cherry Hill, NJ 08002                          Creditors’ Committee Co-Chairperson
Email: jposlusny@cozen.com
Attorneys for Debtors                          Alan D. Halperin, Esq.
                                               Donna Lieberman, Esq.
Mark E. Felger, Esq.                           Debra J. Cohen, Esq.
Cozen O’Connor                                 Halperin Battaglia Raicht, LLP
Chase Manhattan Centre                         555 Madison Avenue-9th Floor
1201 North Market Street                       New York, NY 10022-3301
Suite 1400                                     Email: ahalperin@halperinlaw.net
Wilmington, DE 19801                           Email: dlieberman@halperinlaw.net
Email: mfelger@cozen.com                       Email: dcohen@halperinlaw.net
Attorneys for Debtors                          Counsel for The Creditors’ Committee

Robert Lapowsky, Esq.                          Michael D. Sirota, Esq.
Stevens & Lee, P.C.                            Ilana Volkov, Esq.
181 Market Street, 29th Floor                  Warren A. Usatine, Esq.
Philadelphia, PA 19103                         Cole, Schotz, Meisel, Forman
Email: RL@stevenslee.com                       & Leonard, P.A.
Special Counsel to Debtors                     Court Plaza North
                                               25 Main Street
Peter J. D'Auria, Esq.                         PO Box 800
Office of the United States Trustee            Hackensack, NJ 07601
One Newark Center                              Email: msirota@coleschotz.com
Suite 2100                                     Email: ivolkov@coleschotz.com
Newark, NJ 07102                               Local Counsel for The Creditors’
Email: Peter.J.D’Auria@usdoj.gov               Committee

Brian Bull                                     Joel Shapiro, Esq.
Alcan                                          Blank Rome LLP
1188 Sherbrooke Street West                    One Logan Square
Montreal, Quebec                               130 North 18th Street
H3A 3G2                                        Philadelphia, PA 19103-6998
Canada                                         Email: Shapiro-jc@blankrome.com
Creditors’ Committee Co-Chairperson            Attorneys for ASI Funding, LLC and Arcus
                                               ASI, Inc.




123285.01601/21683712v.1
Case 08-14631-GMB          Doc 211-4 Filed 04/25/08 Entered 04/25/08 12:29:02           Desc
                             Certificate of Service Page 3 of 6




Lawrence Flick, Esq.                            Diane E. Vuocolo, Esq.
Blank Rome LLP                                  Greenberg Traurig, LLP
The Chrysler Building                           Two Commerce Square, Suite 2700
405 Lexington Ave.                              2001 Market Street
New York, NY 10174                              Philadelphia, PA 19103
Email: Flick@blankrome.com                      Email: vuocolod@gtlaw.com
Attorneys for ASI Funding, LLC and Arcus        Attorneys for Arch Acquisition I, LLC
ASI, Inc.
                                                Jennifer M. Davies, Esq.
Paul A. Patterson, Esq.                         Lamm Rubenstone LLC
Michael Cordone, Esq.                           3600 Horizon Blvd., Suite 200
Mark J. Dorval, Esq.                            Trevose, PA 19053
Stradley Ronon                                  Email: jdavies@lammrubenstone.com
2600 One Commerce Square                        Attorneys for Modern Handling Equipment
Philadelphia, PA 19103                          Co.
Email: ppatterson@stradley.com
Email: mcordone@stradley.com                    Steven J. Reisman, Esq.
Attorneys for The CIT Group/Business            Curtis, Mallet-Prevost, Colt & Mosle LLP
Credit, Inc.                                    101 Park Avenue
                                                New York, NY 10178
Louis T. DeLucia, Esq.                          Email: sreisman@curtis.com
Alan J. Brody, Esq.                             Attorneys for Glencore Ltd.
Alyson M. Fiedler, Esq.
Greenberg Traurig, LLP                          Glencore Ltd
200 Park Ave.                                   Attn: Elitsa Golab
Florham Park, NJ 07932                          301 Tresser Blvd.
Email: delucial@gtlaw.com                       Stamford, CT 06901
Email: brodya@gtlaw.com                         Email: elitsa.golab@glencore-us.com
Email: fiedlera@gtlaw.com
Attorneys for Arch Acquisition I, LLC           John R. Morton, Jr. Esq.
                                                Law Offices of John R. Morton, Jr.
Nancy A. Mitchell, Esq.                         110 Marter Avenue
Greenberg Traurig, LLP                          Suite 301
Metlife Building                                Moorestown, NJ 08057
200 Park Ave.                                   Email: jrmecf@verizon.net
New York, NY 10016                              Attorneys for Jaguar Credit Corporation and
Email: mitchelln@gtlaw.com                      Wells Fargo Equipment Finance, Inc.
Attorneys for Arch Acquisition I, LLC
                                                Robert M. Marshall, Esq.
                                                Marshall & Quentzel, L.L.C.
                                                155 Willowbrook Boulevard
                                                Wayne, NJ 07470
                                                Email: rmarshall@mqlaw.net
                                                Attorneys for Alumet Supply, Inc.


                                            2


123285.01601/21683712v.1
Case 08-14631-GMB          Doc 211-4 Filed 04/25/08 Entered 04/25/08 12:29:02       Desc
                             Certificate of Service Page 4 of 6




Joe M. Lozano, Jr., Esq.                        American Express Travel Related Services
Brice, Vander Linden & Wernick, P.C.            Inc. Corp Card
9441 LBJ Freeway, Suite 350                     Attn: Gilbert Weisman
Dallas, TX 75243                                c/o Becket and Lee LLP
Email: notice@bkcylaw.com                       POB 3001
Attorneys for Bank of America                   Malvern, PA 19355-0701
                                                Email: notices@becket-lee.com
Jeffrey Kurtzman, Esq.
Klehr Harrison Harvey Branzbug & Ellers         Cheryl L. Cooper, Esq.
260 South Broad Street                          Holston, MacDonald, et al.
Philadelphia, PA 19102                          66 Euclid Street
Email: jkurtzma@klehr.com                       PO Box 358
Attorneys for A. Jerome Grossman and            Woodbury, NJ 08096
Frank Kessler                                   Email: ccooper@holstonlaw.com
                                                Attorneys for Steven Battle
David W. Phillips, Esq.
Todd M. Galante, Esq.                           Robyn F. Pollack, Esq.
Jeffrey M. Zalkin, Esq.                         Centre Square West
LeClairRyan                                     1500 Market Street, 38th Floor
Two Penn Plaza East                             Philadelphia, PA 19102
Newark, NJ 07105-2249                           Email: RPollack@saul.com
Email: David.Phillips@leclairryan.com           Attorneys for SL Industries, Inc.
Email: Todd.Galante@leclairryan.com
Email: Jeffrey.Zalkin@leclairryan.com           Kelly A. Krail, Esq.
Attorneys for De Lage Landen Financial          Kathleen J. Collins, Esq.
Services, Inc.                                  1800 Chapel Ave. West, Suite 360
                                                Cherry Hill, NJ 08002
Emmanuel J. Argentieri, Esq.                    Email: krai@litchfieldcavo.com
Parker McCay                                    Email: collins@litchfieldcavo.com
PO Box 974                                      Attorneys for Quickway, Inc.
Marlton, NJ 08053
Email: eargentieri@parkermccay.com              Sam Della Fera, Jr., Esq.
Attorneys for Pennsauken Township               Trenk, DiPasquale, et al.
                                                347 Mt. Pleasant Ave., Suite 300
Joseph M. Garemore, Esq.                        West Orange, NJ 07052
Brown & Connery, LLP                            Email: sdellafera@trenklawfirm.com
6 North Broad Street, Suite 100                 Attorneys for Metal Management Northeast,
Woodbury, NJ 08096                              Inc. and
Email: jgaremore@brownconnery.com               Metal Management Connecticut, Inc.
Attorneys for Pollution Control Financing
Authority of Camden County




                                            3


123285.01601/21683712v.1
Case 08-14631-GMB          Doc 211-4 Filed 04/25/08 Entered 04/25/08 12:29:02              Desc
                             Certificate of Service Page 5 of 6




Bonnie A. Barnett, Esq.                              R. Matthew Pettigrew, Jr., Esq.
Deborah Shuff, Esq.                                  Markowitz & Richman
Drinker, Biddle & Reath LLP                          1100 North American Building
One Logan Square                                     121 South Broad Street
18th & Cherry Streets                                Philadelphia, PA 19107
Philadelphia, PA 19103                               Email:
Email: bonnie.barnett@dbr.com                        mpettigrew@markowitzandrichman.com
Email: deborah.shuff@dbr.com                         Attorneys for U.I.U. Health & Welfare Fund
Attorneys for Sears Holding Management
Corporation, Georgia-Pacific Corp, The Glidden       Richard McNeill, Esq.
Co., Avery Dennison, Borden Foods, Crowley           McNeill & Walker
Corp, Garrett-Buchanan, Southeastern                 230 South Broad Street
Pennsylvania Transportation Authority                Suite 700
                                                     Philadelphia, PA 19102
Alan P. Fox, Esq.                                    Attorneys for Teamsters Local 837
Capehart & Scatchard, P.A.
Laurel Corporate Center-Suite 300 S                  Bankruptcy Administration
8000 Midlantic Drive                                 IKON Financial Services
Mount Laurel, NJ 08054                               1738 Bass Road
Email: afox@capehart.com                             PO Box 13708
Attorneys for Color Source, Inc.                     Macon, GA 31208-4708
Carol Rogers Cobb, Esq.                              Internal Revenue Service (IRS)
Giansante & Cobb, LLC                                P.O. Box 21126
23 E. Main Street                                    Philadelphia, PA 19114
Moorestown, NJ 08057-3309
Email: carolrogerscobb@verizon.net                   New Jersey Attorney General's
Attorneys for Ward Sand & Materials, Inc.            Office Division of Law
                                                     Attn: Tracy Richardson
William G. Wright, Esquire                           Richard J. Hughes Justice Complex
Farr, Burke, Gambacorta & &Wright, P.C.              25 Market Street, P.O. Box 112
1000 Atrium Way, Suite 401                           Trenton, NJ 08625-0112
PO Box 669
Mt. Laurel, NJ 08054                                 Commonwealth of Pennsylvania
Attorneys for General Electric Capital               State Office Building
Corporation                                          1400 Spring Garden Street, Room 201
                                                     Philadelphia, PA 19130
Ira Deiches, Esquire
Deiches & Ferschman                                  Timothy A. Bortz
25 Wilkins Avenue                                    UC Tax Agent/Bankruptcy Representative
Haddonfield, NJ 08033                                Commonwealth of Pennsylvania
Attorneys for Northeast Metal Traders, Inc.          Department of Labor and Industry
                                                     Reading Bankruptcy & Compliance Unit
                                                     625 Cherry Street-Room 203
                                                     Reading, PA 19602-1184
                                                     Email: tbortz@state.pa.us
                                                 4


123285.01601/21683712v.1
Case 08-14631-GMB          Doc 211-4 Filed 04/25/08 Entered 04/25/08 12:29:02   Desc
                             Certificate of Service Page 6 of 6




U.S. Environmental Protection Agency
Region 2
290 Broadway, 17th Floor
New York, NY 10007-1866

New Jersey Department of Environmental
Protection
Attorney General of New Jersey
25 Market Street
P.O. Box 093
Trenton, NJ 08625




                                            5


123285.01601/21683712v.1
